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                                      UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT O.F PENNSYLVANIA



            Robert Ward, on behalfofhimse(f"and all
            others similar{v situated,


                   v.
                                  Plaintiff,       FILED            Civil Action No.: 17-cv-02069-MMB

                                                   JAN    ; DISCOVE.RY CONFIDENTIALITY
            Flagship Credit Acceptance LLC,             25. 2018      ORDER
                                                 KATEBARKMAN. CleJtl
                                  Defendant.   BY.        .pep. Clerk

                   It appeanng that discovery in the above-captioned action is likely to involve the

            disclosure of confidential information, it is ORDERED as follows:

                   J. Any party to this litigation and any third-party shall have the right to designate as

            "Confidential" and subject to this Order any information, document, or thing, or portion of any

            document or thing: (a) that contains trade secrets, competitively sensitive technical, marketing,

           financial, sales or other confidential business information, or (b) that contains private or

           confidential personal information, or (c) that contains information received in confidence from

           third parties, or (d) which the producing party otheiwisc believes in good faith to be entitled to

           protection under Rule 26(c)(l){G) of the Federal Rules of Civil Procedure. Any party to this

           litigation or any third party covered by this Order, who produces or discloses any Confidential

           materiaL including without limitation any information, document, thing, interrogatory answer,

           admission, pleading, or testimony, shall mark the same with the foregoing or similar .legend:

           "CONFIDENTIAL"           or     "CONFIDENTIAL                SUBJECT       TO      DISCOVERY

           CONFIDENTIALITY ORDER" (hereinafter "Confidential").

                   2. Any party to this litigation and any third-party shall have the right to desig11ate as

           "Attorneys' Eyes Only" and subject to this Order any information, document, or thing, or portion
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            of any document or thing that contains highly sensitive business or personal information, the

            disclosure of which is highly likely to cause significant harm to an individual or to the business

            or competitive position of the designating party. Any party to this litigation or any third party

            who is covered by this Order, who produces or discloses any Attorneys' Eyes Only material,

            including without limitation any i11fomiation, document, thing, interrogatory answer, admission,

            pleading, or testimony, shall mark the same with the foregoing                 or similar legend:

            "ATTORNEYS' EYES ONLY" or "ATTORNEYS' EYES ONLY                                     SUBJECT TO

            DISCOVERY CONFIDENTIALITY ORDER" (hereinafter "Attorneys' Eyes Only").

                   3. All Confidential material shall be used by the receiving party solely for purposes of the

            prosecution or defense of this action, shall not be used by the receiving party for any business,

            commercial, competitive, personal or other purpose, and shall not be disclosed by the receiving

            party to anyone other than those set forth in Paragraph 4, unless and until the restrictions herein

            arc removed either by written agreement of counsel for the parties, or by Order of the Court. It is,

           however, understood that counsel for a party may give advice and opinions to his or her client

            solely relating to the above-captioned action based on his or her evaluation of Confidential

           material, provided that such advice and opinions shall not reveal the content of such Confidential

           material except by prior written agreement of counsel for the parties, or by Order of the Court.

                   4. Confidential material and the contents of Confidential mate1i.al may be disclosed only

           to the following individuals under the following conditions:

                   a. Outside counsel (herein defined as any attorney at the patties' outside law foms) and

                      relevant in-house counsel for the parties;

                   b. Outside experts or consultants retained by outside counsel for purposes of this action,

                      provided they have signed a non-disclosure agreement in the fonn attached hereto as

                      Exhibit A;
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                    c. Secretarial, paralegal, clerical, duplicating and data proccssmg personnel of the

                       foregoing;

                    d. The Court and court personnel;

                    c. Any deponent may be shown or examined on any information, document or thing

                       designated Confidential if it appears that the witness authored or received a copy of it,

                       is employed by the party who produced the information, document or thing, or if the

                       producing party consents to such disclosure or provided they have signed a non-

                       disclosure agreement in the form attached hereto as Exhibit A;

                    f Vendors retained by or for the parties to assist in preparing for pretrial discovery, trial

                       and/or hearings including, but not limited to, court reporters, litigation support

                       personnel, jury consultants, individuals to prepare demonstrative and audiovisual aids

                      for use in the courtroom or in depositions or mock jury sessions, as well as their staff,

                      stenographic, and cletical employees whose duties and responsibilities require access

                       to such materials; and

                    g. The parties. In the case of parties that arc corporations or other business entities,

                      "party" shall mean executives who are required to participate in decisions with

                      reference to this lawsuit.

                   5. Confidential material shall be used only by individuals pennitted access to it under

            Paragraph 4. Confidential material, copies thereof, and the information contained therein, shall

            not be disclosed in any manner to any other individual, until and unless (a) outside counsel for

            the party asserting confidentiality waives the claim of confidentiality, or (b) the Court orders

            such disclosure.

                   6. With respect to any depositions that involve a disclosure of Confidential material of a

            party to this action, such party shall have until thirty (30) days after receipt of the deposition
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            transcript within which to inforn1 all other parties that portions of the transcript arc to be

            designated Confidential., which period may be extended by agreement of the parties. No such

            deposition transcript shall be disclosed to any individual other than the individuals described in

            Paragraph 4(a), (b), (c), (d) and (f) above and the deponent during these thirty (30) days, and no

            individual attending such a deposition shall disclose the contents of the deposition to any

            individual other than those dcsc1ibed in Paragraph 4(a), (b), (c), (d) and (f) above during said

            thirty (30) days. Upon being informed that certain portions of a deposition are to be designated

            as Confidential, alt parties shall immediately cause each copy of the transcript in its custody or

            control to be appropriately marked and limit disclosure of that transcript in accordauce with

            Paragraphs 3 and 4.

                   7. Material produced and marked as Attomeys' Eyes Only may be disclosed only to

            outside counsel for the receiving party and to such other persons as counsel for the producing

            party agrees in advance or as Ordered by the Court.

                   8. If counsel for a party receiving documents or infotmation designated as Confidential or

            Attomeys' Eyes Only hereunder objects to such designation of any or all of such items, the

            following procedure shall apply:

                   (a) Counsel for the objecting party shall serve on the designating party or third party a

           written objection to such designation, which shall describe with pa1ticularity the documents or

           infonnation in question and shall state the grounds for objection. Counsel for the designating

           party or third party shall respond i11 writing to such objection within 14 days, and shall state with

           paiticularity the grounds for asserting that the document or infommtion is Confidential or

           Attorneys' Eyes Only. If no timely written response is made to the objection, the challenged

           designation will be deemed to be void. If the designating party or nonparty makes a timely

           response to such objection asse11ing the propriety of the designation, counsel shall then confer in
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            good faith in an effort to resolve the dispute.

                      (b) If a dispute as to a Confidential or Attorneys' Eyes Only designation of a document or

            item of information cannot be resolved by agreement, the proponent of the designation being

            challenged shall present the dispute to the Court initially by telephone or letter, in accordance

            with Local Civil. Rule, before filing a formal motion for an order regarding the challenged

            designation. The document or information that is the subject of t11e filing shall be treated as

            originally designated pending resolution of the dispute.

                      9. All requests to seal documents filed with the Court shall comply with Local Civil Rule

            5. 1.5.

                      I 0. Nothing in this Discovery Confidentiality Order places any restriction on the use of

            Confidential or Attomeys' Eyes Only infonnation by the Court or in any hearing or t1ial in Court

                      1I. To the extent consistent with applicable law, the inadvertent or unintentional

            disclosure of Confidential material that should have been designated as such, regardless of

            whether the information, document or thing was so designated at the time of disclosure, shall not

            be deemed a waiver in whole or in part of a party's claim of confidentiality, either as to the

            specific information, document or tiring disclosed or as to any other material or information

            concerning the same or related subject matter. Such inadvertent or unintentional disclosure may

            be rectified by notifying i11 writing com1scl for all parties to whom the material was disclosed

            that the material should have been designated Confidential within a reasonable time after

            disclosure. Such notice shall constitute a designation of the information, document or thing as

            Confidential under this Discovery Confidentiality Order. The paiiies expressly intend t11at this

            Discovery Confidentiality Order shall constitute an "Order" within the meaning of Fed. R. Evid.

            502(d).

                      J2. When the inadve11ent or mistaken disclosure of any infonnatio11, document or thing
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            protected by privilege or work-product immunity is discovered by the producing party and

            brought to the attention of the receiving party, the receiving party's treatment of such material

            shall be in accordance •vith Federal Rule of Civil Procedure 26(b)(5)(B). Such inadvertent or

            mistaken disclosure of such information, document or thing shall not by itself constitute a waiver

            by the producing paity of any claims of privilege or work-product imnumity. However, nothing

            herein restricts the 1ight of the receiving party to challenge the producing party's claim of

            privilege if appropriate within a reasonable time afi:er receiving notice of the inadvertent or

            mistaken disclosure.

                   13. No information that is in the public domain or which is already known by the

            receiving party through legal means or which is or becomes available to a party from a source

            other than the party asserting confidentiality, rightfully in possession of such infonnation on a

            non-confidential basis, shall be deemed or considered to be Confidential material under this

            Discovery Confidentiality Order.

                   14. This Discovery Confidentiality Order shall not deprive any party of its right to object

           to discovery by any other party or on any otherwise permitted ground. This Discovery

           Confidentiality Order is being entered without prejudice to the right of any party to move the

           Court for modification or for relief from any of its terms.

                   I 5. This Discovery Confidentiality Order s11all survive the termination of this action and

           shall remain in full force and effect unless modified by an Order of this Court or by the written

           stipulation of the parties filed with the Court.

                   16. Upon final conc1usio11 of this litigation, each party or other individual subject to the

           terms hereof shall be under an obligation to assemble and to return to the originating source all

           01igi11als and u11marked copies of documents and things containing Confidential material and to

           destroy. should such source so request, al1 copies of Confidential material that contain and/or
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            constitute attomey work product as well as excerpts, summaries and digests revealing

            Confidential material; provided, however, that counsel may retain complete copies of all

            transcripts and pleadings including any exhibits attached thereto for archival purposes, subject to

            the provisions of this Discovery Confidentiality Order. To the extent a party requests the return

            of Confidential material from the Court after the final conclusion of the litigation, including the

            exhaustion of all appeals therefrom and all related proceedings, the pa1ty shall file a motion

            seeking such relief



                     IT IS SO ORDERED.

            Dated:    11 d-51 tg
                                                                                                           .-BAYLSON




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